          Case 2:08-cr-00082-RSL          Document 756        Filed 07/20/12     Page 1 of 2




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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                            NO. CR08-82-RSL

 9                                 Plaintiff,

10          v.                                            SUMMARY REPORT OF
                                                          U.S. MAGISTRATE JUDGE AS
11
     JODIE TAYLOR,                                        TO ALLEGED VIOLATIONS
12                                                        OF SUPERVISED RELEASE
                                   Defendant.
13

14          An initial hearing on a petition for violation of supervised release was held before the

15   undersigned Magistrate Judge on July 20, 2012. The United States was represented by

16   Assistant United States Attorney Steven Hobbs for Todd Greenberg, and the defendant by

17   Lynn Hartfield for Michael Schwartz.

18          The defendant had been charged with Conspiracy to Distribute Cocaine, in violation of

19   21 U.S.C. §§ 841(a), 841(b)(1)(C) and 846. On or about September 10, 2009, defendant was

20   sentenced by the Honorable Robert S. Lasnik to a term of 42 months in custody, to be followed

21   by 3 years of supervised release.

22          The conditions of supervised release included the requirements that the defendant

23   comply with all local, state, and federal laws, and with the standard conditions. Special

24   conditions imposed included, but were not limited to, participation in substance abuse and

25   mental health programs, financial disclosure and abstain from the use of alcohol and other

26   intoxicants.


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
           Case 2:08-cr-00082-RSL         Document 756        Filed 07/20/12      Page 2 of 2




 1          In a Petition for Warrant or Summons dated July 11, 2012, U.S. Probation Officer Felix

 2   Calvillo, Jr. asserted the following violation by defendant of the conditions of his supervised

 3   release:

 4          1.      Failing to participate in substance abuse treatment at Serenity Counseling
                    Services, by being unsuccessfully discharged on May 22, 2012, in violation of
 5
                    the special condition.
 6
            2.      Failure to participate in Life Skills/GED program at South Seattle Community
 7                  College, as instructed since June 16, 2012, in violation of standard condition #3.

 8          The defendant was advised of his rights, acknowledged those rights, and admitted to

 9   violations 1 and 2.

10          I therefore recommend that the Court find the defendant to have violated the terms and

11   conditions of his supervised release as to violations 1 and 2, and that the Court conduct a

12   hearing limited to disposition. A disposition hearing on these violations has been set before the

13   Honorable Robert S. Lasnik on August 28, 2012 at 1:30 p.m.

14          Pending a final determination by the Court, the defendant has been detained.

15          DATED this 20th day of July, 2012.

16

17
                                                   A
                                                   JAMES P. DONOHUE
                                                   United States Magistrate Judge
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19
     cc:    District Judge:                Honorable Robert S. Lasnik
20          AUSA:                          Todd Greenberg
            Defendant’s attorney:          Michael Schwartz
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            Probation officer:             Felix Calvillo, Jr.
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
